Case 2:06-cv-00072-DF-CE Document 2089 Filed 03/26/10 Page 1 of 8 PagelD#: 51324

/

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

MARSHALL DIVISION
DATATREASURY CORPORATION, §
§
Plaintiff, §
§
Vv. § CIVIL ACTION NO. 2:06-CV-72 DF
§
U.S. BANK, N.A., et al., §
§
Defendants. §
§
VERDICT FORM

You, the jury, are to answer the following interrogatories based on the evidence admitted
at trial and according to the instructions the Court has given you. Start with Interrogatory No. 1
and proceed through the interrogatories. As you proceed through this verdict form, follow the

directions provided.
Case 2:06-cv-00072-DF-CE Document 2089 Filed 03/26/10 Page 2 of 8 PagelD #: 51325

Interrogatory No. 1

Has DataTreasury proven by a preponderance of the evidence that U.S. Bank has
exercised control or direction over Viewpointe such that U.S. Bank and Viewpointe have jointly
infringed any of the following claims of the asserted patents? Answer “yes” or “no” as to each

claim in the spaces provided:

°137 Patent, Claim 42 VPS

 
 

137 Patent, Claim 43. 7S

 

Interrogatory No. 2

ANSWER THIS INTERROGATORY ONLY IF YOU ANSWERED “YES” FOR

AT LEAST ONE CLAIM IN INTERROGATORY NO. 1.

If you have not answered “yes” as to at least one claim in Interrogatory No. 1, skip this

interrogatory and proceed to Interrogatory No. 3.

Has DataTreasury proven by clear and convincing evidence that the joint infringement by

U.S. Bank and Viewpointe of any of the claims at issue was willful?

Answer “yes” or “no”:

 
Case 2:06-cv-00072-DF-CE Document 2089 Filed 03/26/10 Page 3 of 8 PagelD #: 51326

Interrogatory No. 3
Has DataTreasury proven by a preponderance of the evidence that U.S. Bank has
exercised control or direction over The Clearing House such that U.S. Bank and The Clearing
House have jointly infringed any of the following claims of the asserted patents? Answer “yes”
or “no” as to each claim in the spaces provided:

iy

°O88 Patent, Claim 1 f CS °137 Patent, Claim 42

   

"988 Patent, Claim 46 ~

Interrogatory No. 4

ANSWER THIS INTERROGATORY ONLY IF YOU ANSWERED “YES” FOR

AT LEAST ONE CLAIM IN INTERROGATORY NO. 3.

If you have not answered “yes” as to at least one claim in Interrogatory No. 3, skip this
interrogatory and proceed to Interrogatory No. 5.
Has DataTreasury proven by clear and convincing evidence that the joint infringement by

U.S. Bank and The Clearing House of any of the claims at issue was willful?

 

Answer “yes” or “no”:
Case 2:06-cv-00072-DF-CE Document 2089 Filed 03/26/10 Page 4 of 8 PagelD #: 51327

Interrogatory No. 5

Have Defendants proven by clear and convincing evidence that any of the following
claims of the ’988 Patent or the ’137 Patent are invalid by anticipation? Answer “yes” or “no” as
to each claim in the spaces provided below. Answer for all claims regardless of whether you

have found those claims were infringed.

   

°988 Patent, Claim 1 | OG °137 Patent, Claim 42

 

°988 Patent, Claim 26 137 Patent, Claim 43 by %

"988 Patent, Claim 46 he o

Interrogatory No. 6

Have Defendants proven by clear and convincing evidence that any of the following
claims of the °988 Patent or the °137 Patent are invalid due to obviousness? Answer “yes” or
“no” as to each claim in the spaces provided below. Answer for all claims regardless of whether

you have found those claims were infringed.

  

988 Patent, Claim 1 / °137 Patent, Claim 42 /- ~

 

   

°988 Patent, Claim 26 °137 Patent, Claim 43/2 <

988 Patent, Claim 46 |
Case 2:06-cv-00072-DF-CE Document 2089 Filed 03/26/10 Page 5 of 8 PagelD #: 51328

Interrogatory No. 7

Have Defendants proven by clear and convincing evidence that any of the following
claims of the °988 Patent or the ’137 Patent are invalid due to failure to provide an adequate
written description? Answer “yes” or “no” as to each claim in the spaces provided below.
Answer for all claims regardless of whether you have found those claims were infringed.

"988 Patent, Claim 1 °137 Patent, Claim 42 /- =

 

°988 Patent, Claim 26 °137 Patent, Claim 43 5. ©

°988 Patent, Claim 46 §.
Case 2:06-cv-00072-DF-CE Document 2089 Filed 03/26/10 Page 6 of 8 PagelD #: 51329

Interrogatory No. 8

ANSWER THIS INTERROGATORY ONLY IF YOU ANSWERED “YES” FOR
AT LEAST ONE CLAIM IN INTERROGATORY NO. 1.

If you have not answered “yes” as to at least one claim in Interrogatory No. 1, skip this
interrogatory and proceed to Interrogatory No. 9.

If you have found that any of the asserted claims of the ’988 Patent or the ’137 Patent
have been jointly infringed by U.S. Bank and Viewpointe, then even if you have answered “yes”
to any portion of Interrogatory Nos. 5 through 7, please determine the amount of reasonable
royalty damages that would fairly and adequately compensate DataTreasury for joint
infringement by U.S. Bank and Viewpointe:

Answer in dollars and cents: $  / >.

&

 

 

You have heard testimony regarding a “running royalty,” which is a royalty determined by
the amount of use of the purported invention over time. You have also heard testimony
regarding a “lump sum paid up royalty,” which is a fixed amount paid to the patent holder
regardless of the amount of use of the purported invention over time. If you have awarded
reasonable royalty damages above, is that award based on a “running royalty” or a “lump sum
paid up royalty”?

Answer “running royalty” or “lump sum paid up royalty”:

) ie

g Vast

 

 
Case 2:06-cv-00072-DF-CE Document 2089 Filed 03/26/10 Page 7 of 8 PagelD #: 51330

Interrogatory No. 9

ANSWER THIS INTERROGATORY ONLY IF YOU ANSWERED “YES” FOR
AT LEAST ONE CLAIM IN INTERROGATORY NGO. 3.

If you have not answered “yes” as to at least one claim in Interrogatory No. 3, skip this
interrogatory and proceed to sign and date this Verdict Form.

If you have found that any of the asserted claims of the ’988 Patent or the ’137 Patent
have been jointly infringed by U.S. Bank and The Clearing House, then even if you have
answered “yes” to any portion of Interrogatory Nos. 5 through 7, please determine the amount of
reasonable royalty damages that would fairly and adequately compensate DataTreasury for joint
infringement by U.S. Bank and The Clearing House:

Py ms
Answer in dollars and cents: $ 2

   

—<
fa,

 

You have heard testimony regarding a “running royalty,” which is a royalty determined by
the amount of use of the purported invention over time. You have also heard testimony
regarding a “lump sum paid up royalty,” which is a fixed amount paid to the patent holder
regardless of the amount of use of the purported invention over time. If you have awarded
reasonable royalty damages above, is that award based on a “running royalty” or a “lump sum
paid up royalty”?

Answer “running royalty” or “lump sum paid up royalty”:

4
; a ee BS
hymns)

 

 
Case 2:06-cv-00072-DF-CE Document 2089 Filed 03/26/10 Page 8 of 8 PagelD #: 51331

The foreperson must sign and date this verdict form:
